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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                    MONROE DIVISION


      JILL HINES, ET AL.                                 CIVIL ACTION NO. 3:23-CV-00571

      VERSUS                                             CHIEF JUDGE TERRY A. DOUGHTY

      ALEX STAMOS, ET AL.                                MAGISTRATE JUDGE MCCLUSKY



         DEFENDANT THE ASPEN INSTITUTE’S MOTION FOR LEAVE TO FILE
        UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE
            PLEADINGS TO PLAINTIFFS’ FIRST AMENDED COMPLAINT

            Defendant The Aspen Institute (“Aspen”) respectfully moves for leave to file an

     unopposed motion for an initial extension of time to respond to Plaintiffs Jill Hines’s and Jim

     Hoft’s First Amended Complaint [Doc. #77]. In support, Aspen states as follows:

            1.      Aspen was added as a defendant in this action in an amended complaint filed on

     October 17, 2023. [Doc. #77]. Aspen was not served, however, until November 13, 2023,

     making its deadline to respond December 4, 2023. [Doc. #87].

            2.      On November 15, 2023, the Court entered an Order denying a Motion to

     Compel Arbitration filed by the original defendants. [Doc. #88]. That Order inadvertently

     referred to Aspen as having joined in that motion [id., at p. 1 n.1], although in fact, Aspen had

     not yet appeared and did not join in the Motion to Compel Arbitration when it was filed or

     before the Order was issued [Doc. #69, p. 1].

            3.      After the original defendants appealed that Order denying the original

     defendants’ Motion to Compel Arbitration, on November 17, 2023, the Court entered an Order

     holding that “[p]ursuant to the Supreme Court of the United States’ ruling in Coinbase, Inc. v.

     Bielski, 599 U.S. 736 (2023), this case is automatically stayed” during the appeal [Doc. #92, p.

     1). The Court further ordered that this case be administratively terminated, and that “[a]ll




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     pending deadlines and motions are stayed, to be re-urged by counsel when the time is right.”

     Id.

            4.      Although the Court administratively terminated the case during the original

     defendants’ appeal, the claims against Aspen are not subject to the appeal and thus, are not

     stayed. See Coinbase, Inc., 599 U.S. at 740-741. Accordingly, Aspen seeks leave to file an

     Unopposed Motion for an Extension of Time to respond to plaintiffs’ First Amended

     Complaint, which deadline otherwise would be December 4, 2023. Good cause exists to grant

     leave, as the requested extension would conserve party and judicial resources, and no party

     would be prejudiced by granting Aspen leave to file an extension motion.

            5.      By filing this motion, Aspen does not waive any objections to this Court’s

     jurisdiction or venue, and expressly preserves its right to move to dismiss under Federal Rule of

     Civil Procedure 12(b)(2) and/or Rule 12(b)(6) or to transfer the case. Aspen further preserves

     its right to file its own motion to compel arbitration.

            WHEREFORE, Aspen respectfully requests leave to file the attached Motion for

     Extension of Time to File Responsive Pleadings to Plaintiffs’ First Amended Complaint.

      Dated: November 30, 2023                    Respectfully submitted,

                                                  COOK, YANCEY, KING & GALLOWAY,
                                                  A Professional Law Corporation

                                                  By: /s/ Elizabeth M. Carmody
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                                                   ATTORNEYS          FOR      DEFENDANT           ASPEN
                                                   INSTITUTE




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                                      CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a copy of the above and foregoing was filed with the United

     States District Court for the Western District of Louisiana by electronic case filing/case

     management. Notice of this filing will be sent to all counsel of record by operation of the

     electronic case filing system.

            Shreveport, Louisiana, this 30th day of November, 2023.


                                                      s/ Elizabeth M. Carmody
                                                          OF COUNSEL




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